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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY

   CRAIG J. HOLLAND, Individually and
   on behalf of all others similarly situated,
                                                 Case No: 2:21-cv-00948-MCA-MAH

                Plaintiff,                       AMENDED CLASS ACTION
                                                 COMPLAINT FOR VIOLATIONS
                                                 OF THE FEDERAL SECURITIES
                v.                               LAWS

   9F INC., LEI SUN, YANJUN LIN,                 JURY TRIAL DEMANDED
   YIFAN REN, CHANGXING XIAO,
   FLYNN XUXIAN HUANG, IVAN
   XU, JUNSHENG ZHANG, WING
   HON CHEUNG, FANGXIONG
   GONG, DAVID CUI, LEI LIU, SIU
   FUNG MING, CREDIT SUISSE
   SECURITIES (USA) LLC, HAITONG
   INTERNATIONAL SECURITIES
   COMPANY LIMITED, CLSA
   LIMITED, CHINA INVESTMENT
   SECURITIES INTERNATIONAL
   BROKERAGE LIMITED, 9F
   PRIMASIA SECURITIES LIMITED,
   and COGENCY GLOBAL INC.,

         Defendants.
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       Lead Plaintiff John S. Wait (“Plaintiff”), individually and on behalf of all

 other persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

 complaint against Defendants (defined below), alleges the following based upon

 personal knowledge as to Plaintiff and Plaintiff’s own acts, and information and

 belief as to all other matters. These allegations are based upon, inter alia, the

 investigation conducted by his attorneys, which included, among other things, a

 review of: (1) Defendants’ public documents; (2) conference calls and

 announcements made by Defendants; (3) public filings, wire and press releases

 published by, and regarding, 9F Inc. (“9F,” “JFU,” or the “Company”); (4)

 statements made by former Company employees; and (5) other publicly available

 information. Plaintiff believes that substantial evidentiary support will exist for the

 allegations set forth herein after a reasonable opportunity for discovery.

                            NATURE OF THE ACTION

       1.     Plaintiff brings this securities class action on behalf of persons who

 purchased or otherwise acquired the Company’s ADSs 1 : (1) pursuant and/or

 traceable to the registration statement and related prospectus (collectively




 1
  American Depositary Shares (“ADS”) are U.S. dollar-denominated shares of stock
 of a foreign-based company available for purchase on an American stock exchange.
 ADSs are issued by depository banks in the U.S. under agreement with the issuing
 foreign company.
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 “Registration Statement”) issued in connection with 9F’s August 14, 2019 Initial

 Public Offering (“IPO” or “Offering”); and/or (2) between August 14, 2019 and

 September 29, 2020, both dates inclusive (“Class Period”), seeking to recover

 compensable damages caused by Defendants’ violations of the Securities Act of

 1933 (“Securities Act”) and violations of Sections 10(b) and 20(a) of the Securities

 Exchange Act of 1934 (“Exchange Act”) and Securities and Exchange Commission

 (“SEC”) Rule 10b-5 promulgated thereunder.2

       2.     Defendant 9F is an online peer-to-peer lending intermediary platform

 in China. On 9F’s platform, its institutional funding partners – usually small or mid-

 size banks and individuals – lent money to individual borrowers through 9F’s loan

 products. 9F charges facilitation service fees for facilitating loans between lenders

 and borrowers. In the first five months of 2019, 9F’s net revenue from loan

 facilitation services accounted for 84% of its total net revenue.

       3.     Starting in 2015, China published a series of regulations and judicial

 interpretations requiring that the total amount of interest and fees that a lender




 2
        Excluded from the Class are: (a) persons who suffered no compensable
 losses; and (b) Defendants, the present and former officers and directors of 9F at all
 relevant times, members of their immediate families and their legal representatives,
 heirs, successors, or assigns, and any entity in which any of the Defendants, or any
 person excluded under this subsection (b), has or had a majority ownership interest
 at any time.
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 charges a borrower shall not exceed 36%. The regulations and interpretations further

 required that lending intermediaries, such 9F, shall not charge fees from borrowers.

         4.   To circumvent these restrictions, 9F struck an arrangement with

 Property and Casualty Company Limited (“PICC”), an insurance company in China,

 through two agreements. One agreement, which was publicly disclosed and legal,

 provided that PICC deducted a certain amount from loan principal that a borrower

 borrowed on the 9F platform in the name of the insurance premium protecting the

 lender’s loaned fund. The other agreement, an illegal and secret one only known

 between 9F and PICC, provided that 95% of the funds that PICC collected disguised

 as insurance premiums were in fact loan facilitation service fees that PICC would

 remit to 9F upon receipt. Such facilitation service fees secretly funneled by 9F via

 PICC, together with the interest that borrowers had to pay to their lenders, accounted

 for 50-100% of borrowed principal – much higher than the limit of 36% – and

 blatantly violated Chinese law. This arrangement subjected 9F to a significant risk

 that the arrangement would be deemed illegal, which would then require the seizure

 of all funds that PICC collected as pure insurance premiums.

         5.   The Company, however, failed to disclose this secret arrangement and

 its associated material risk in 9F’s Registration Statement for its IPO. Instead, 9F

 misleadingly stated that it charged PICC service fees for the loans it referred to

 PICC.


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       6.     With the materially misleading Registration Statement, Defendants

 conducted the IPO in August 2019, selling approximately 8.9 million ADSs to the

 investing public at $9.50 per ADS, and pocketed $84.55 million from investors.

       7.     The risk quickly materialized after 9F’s IPO. On June 12, 2020, 9F

 disclosed for the first time as a material adverse event that PICC withheld RMB 2.2

 billion (US$350 million) in service fees from 9F in 2019. The Company further

 disclosed that PICC filed a lawsuit against 9F, claiming that the agreement between

 9F and PICC was invalid and that PICC had no duty to pay the service fees. (“June

 12, 2020 6K”). 9F also disclosed that it filed a lawsuit against PICC for PICC’s non-

 performance. The Company, however, did not disclose in the June 12, 2020 6K that

 the real nature of the dispute related to the loan facilitation service fees that 9F asked

 PICC to illegally and secretly collect from 9F’s borrowers.

       8.     On June 24, 2020, 9F filed its 2019 annual report on Form 20-F (“2019

 20F”), revealing for the first time the illegal nature of its agreement with PICC. 9F

 admitted that in 2019 “PICC collected all of the loan facilitation service fees” from

 borrowers and remitted 9F’s portion upon receipt. Given that PICC’s withholding

 of 9F’s loan facilitation service fees accounted for 29.9% of lost revenue in 2019,

 the market strongly reacted to 9F’s revelation. Specifically, 9Fs’ stock price fell by

 $0.38 per ADS, or 7.6%, on June 24, 2019, and another $1.12 per ADS, or 24%,

 over the next three days.


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       9.     9F continued to suffer financially as a result of the materialized risk of

 the failure to receive facilitation service fees from PICC in 2020. On September 29,

 2020, 9F reported that its loan facilitation services revenue in the first half of 2020

 decreased by 85.5% from the second half of 2019. 9F continued its dispute with

 PICC as one of the primary reasons for such decrease. On this news, 9F’s ADS

 share price fell $0.20 per ADS, or 18%, to close at $0.91 per ADS on September 30,

 2020, further damaging investors.

       10.    By the commencement of this action, the Company’s shares traded

 significantly below the IPO price. As a result, investors were damaged.

                          JURISDICTION AND VENUE

       11.    The claims alleged herein arise under, and pursuant to, Sections 11,

 12(a)(2), and 15 of the Securities Act (15 U.S.C. §§77k, 771(a)(2) and 77o), Sections

 10(b) and 20(a) of the Exchange Act (15 U.S.C. §§78j(b) and 78t(a)), and SEC Rule

 10b-5 promulgated thereunder (17 C.F.R. §240.10b-5).

       12.    This Court has jurisdiction over the subject matter of this action

 pursuant to 28 U.S.C. §1331 and §22 of the Securities Act and 28 U.S.C. §1331 and

 §27 of the Exchange Act.

       13.    This Court has jurisdiction over each defendant named herein because

 each defendant has sufficient minimum contacts with this District so as to render the




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 exercise of jurisdiction by this Court permissible under traditional notions of fair

 play and substantial justice.

        14.    Venue is proper in this District pursuant to 28 U.S.C. §1391(b) and

 §22(a) of the Securities Act (15 U.S.C. §77v(a)) as a significant portion of

 Defendants’ actions and the subsequent damages took place within this District, and

 §27 of the Exchange Act (15 U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged

 misstatements entered and subsequent damages took place within this District.

        15.    In connection with the acts, conduct, and other wrongs alleged in this

 complaint, Defendants, directly or indirectly, used the means and instrumentalities

 of interstate commerce, including but not limited to, the United States mails,

 interstate telephone communications, and the facilities of a national securities

 exchange. Defendants disseminated the statements alleged to be false and

 misleading herein into this District, and Defendants solicited purchasers of 9F

 securities in this District.

                                       PARTIES

        16.    As set forth in the certification previously filed with the Court (Dkt. 9-

 2), Plaintiff purchased the Company’s securities at artificially inflated prices during

 the Class Period and was damaged upon the revelation of the truth.

        17.    Defendant 9F is an online peer-to-peer lending intermediary platform

 in China. The Company’s primary products and services include consumer loan


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 products, online wealth management products, and payment facilitation.          The

 Company is incorporated in the Cayman Islands and its head office is located at the

 Jiufu Building, Rongxin Technology Center, Chaoyang District, Beijing 100102,

 People’s Republic of China (“PRC”). 9F ADSs trade on the Nasdaq Exchange

 (“NASDAQ”) under the ticker symbol “JFU.”

       18.    Defendant Lei Sun (“Sun”) has served as the Company’s Chairman and

 Chief Executive Officer (“CEO”) since 2017 and was at the time of the IPO 9F’s

 CEO and Chairman of the Board of Directors (“Board”). He is also a co-founder of

 the Company.      Defendant Sun signed the false and misleading Registration

 Statement. Defendant Sun beneficially owned 77,526,800 ordinary shares (39.1%

 of the outstanding shares) of 9F just prior to the IPO. Defendant Sun sold 2.15

 million ADSs as a “selling shareholder” in the Company’s IPO, through Nine F

 Capital Limited, a British Virgin Islands company, which he controls, grossing more

 than $20 million in proceeds for himself.

       19.    Defendant Yanjun Lin (“Lin”) has served as the Chief Financial Officer

 (“CFO”) since 2015 and was at the time of the IPO 9F’s CFO and a member of its

 Board. Defendant Lin has served as the CEO of Defendant 9F Primasia Securities

 Limited (“Primasia Securities”) since 2016. Defendant Lin signed the false and

 misleading Registration Statement. Defendant Lin beneficially owned 2,490,700

 ordinary shares (1.3% of the outstanding shares) of 9F just prior to the IPO.


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         20.   Defendant Yifan Ren (“Ren”) was at the time of the IPO a member of

  9F’s Board. He is also a co-founder of the Company. Defendant Ren signed the

  false and misleading Registration Statement. Defendant Ren beneficially owned

  43,583,400 ordinary shares (23.3% of the outstanding shares) of 9F just prior to the

  IPO.

         21.   Defendant Changxing Xiao (“Xiao”) was at the time of the IPO a

  member of 9F’s Board. Defendant Xiao signed the false and misleading Registration

  Statement. Defendant Xiao beneficially owned 13,920,300 ordinary shares (7.4%

  of the outstanding shares) of 9F just prior to the IPO.

         22.   Defendant Flynn Xuxian Huang (“Huang”) was at the time of the IPO

  a member of 9F’s Board.        Defendant Huang signed the false and misleading

  Registration Statement.

         23.   Defendant Ivan Xu (“Xu”) was at the time of the IPO a member of 9F’s

  Board. Defendant Xu signed the false and misleading Registration Statement.

  Defendant Xu beneficially owned 7,237,000 ordinary shares (3.8% of the

  outstanding shares) of 9F just prior to the IPO.

         24.   Defendant Junsheng Zhang (“Zhang”) was at the time of the IPO a

  member of 9F’s Board.         Defendant Zhang signed the false and misleading

  Registration Statement. Defendant Zhang beneficially owned 3,912,700 ordinary

  shares (2.1% of the outstanding shares) of 9F just prior to the IPO.


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        25.   Defendant Wing Hon Cheung (“Cheung”) was at the time of the IPO a

  member of 9F’s Board.       Defendant Cheung signed the false and misleading

  Registration Statement.

        26.   Defendant Fangxiong Gong (“Gong”) was named in the Registration

  Statement, with his consent, as having accepted appointment as a Company director

  effective upon the SEC’s declaration of effectiveness of the Registration Statement.

        27.   Defendant David Cui (“Cui”) was named in the Registration Statement,

  with his consent, as having accepted appointment as a Company director effective

  upon the SEC’s declaration of effectiveness of the Registration Statement.

        28.   Defendant Lei Liu (“Liu”) was named in the Registration Statement,

  with his consent, as having accepted appointment as a Company director effective

  upon the SEC’s declaration of effectiveness of the Registration Statement. He is

  also a co-founder of the Company and was, at the time of the IPO, its Executive

  President and Chief Risk Officer. Defendant Liu beneficially owned 4,347,600

  ordinary shares (2.3% of the outstanding shares) of 9F just prior to the IPO.

  Defendant Liu became the Company’s Chief Risk Officer in June 2020 and replaced

  Defendant Sun as 9F’s CEO in August 2020.

        29.   Defendant Siu Fung Ming (“Ming”) was at the time of the IPO 9F’s

  duly authorized representative in the United States. Defendant Ming signed the false

  and misleading Registration Statement on his own behalf and on behalf of Defendant


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  Cogency Global Inc. (“Cogency Global”), Defendant Ming’s employer.

        30.    The defendants named in ¶¶18-29 are referred to herein as the “Offering

  Defendants.”

        31.    Defendants Sun and Lin are referred to herein as the “Individual

  Defendants.”

        32.    Each of the Offering Defendants signed or authorized the signing of the

  Registration Statement, solicited the investing public to purchase securities issued

  pursuant thereto, hired and assisted the underwriters, planned and contributed to the

  IPO and Registration Statement, and attended road shows and other promotions to

  meet with and present favorable information to potential 9F investors, all motivated

  by their own and the Company’s financial interests.

        33.    The Individual Defendants:

               (a)   directly participated in the management of the Company;

               (b)   were directly involved in the day-to-day operations of the

               Company at the highest levels;

               (c)   were privy to confidential proprietary information concerning

               the Company and its business and operations;

               (d)   were directly or indirectly involved in drafting, producing,

               reviewing and/or disseminating the false and misleading statements

               and information alleged herein;


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              (e)    were directly or indirectly involved in the oversight or

              implementation of the Company’s internal controls; and/or

              (g)    approved or ratified these statements in violation of the federal

              securities laws.

        34.   The Company is liable for the acts of the Individual Defendants and the

  Company’s employees under the doctrine of respondeat superior and common law

  principles of agency because all of the wrongful acts complained of herein were

  carried out within the scope of their employment.

        35.   Defendant Credit Suisse Securities (USA) LLC served as an

  underwriter for the Company’s IPO. Credit Suisse Securities (USA) LLC maintains

  an office at 2121 Avenue of the Stars, Los Angeles, CA 90067.

        36.   Defendant Haitong International Securities Company Limited served

  as an underwriter for the Company’s IPO. The address of Haitong International

  Securities Company Limited is 22/F Li Po Chun Chambers, 189 Des Voeux Road

  Central, Hong Kong Special Administrative Region of the PRC.

        37.   Defendant CLSA Limited served as an underwriter for the Company’s

  IPO. The address of CLSA Limited is 18/F, One Pacific Place, 88 Queensway, Hong

  Kong Special Administrative Region of the PRC.

        38.   Defendant China Investment Securities International Brokerage

  Limited served as an underwriter for the Company’s IPO. The address of China


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  Investment Securities International Brokerage Limited is Unit Nos. 7701A & 05B-

  08 Level 77, International Commerce Center, No. 1 Austin Road West, Kowloon,

  Hong Kong Special Administrative Region of the PRC.

        39.   Defendant Primasia Securities served as an underwriter for the

  Company’s IPO. Primasia Securities is a subsidiary of the Company and its address

  is Suite 4806-07, 48/F, Central Plaza, No. 18 Harbour Road, Wanchai, Hong Kong

  Special Administrative Region of the PRC.

        40.   The defendants referenced above in ¶¶35-39 are referred to herein as

  the “Underwriter Defendants.” The Underwriter Defendants are liable for the false

  and misleading statements in the Registration Statement. In connection with the

  IPO, the Underwriter Defendants drafted and disseminated the Registration

  Statement and were collectively paid nearly $8 million in underwriting discounts

  and fees in connection therewith. The Underwriter Defendants’ failure to conduct

  an adequate due diligence investigation was a substantial factor leading to the harm

  complained of herein.

        41.   Pursuant to the Securities Act, the Underwriter Defendants are liable

  for the false and misleading statements in the Registration Statement as follows:

              (a)    The Underwriter Defendants are investment banking houses that

              specialize in, among other things, underwriting public offerings of

              securities. They served as the underwriters of the IPO and shared


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             substantial fees from the IPO collectively.             The Underwriter

             Defendants arranged a roadshow prior to the IPO during which they,

             and representatives from 9F, met with potential investors and

             presented highly favorable information about the Company, its

             operations and its financial prospects;

             (b)   Representatives of the Underwriter Defendants also assisted 9F

             and the Offering Defendants in planning the IPO, and purportedly

             conducted an adequate and reasonable investigation into the business

             and operations of the Company, an undertaking known as a “due

             diligence” investigation. The due diligence investigation was required

             of the Underwriter Defendants in order to engage in the IPO. During

             the course of their “due diligence,” the Underwriter Defendants had

             continual   access   to   internal,    confidential,   current   corporate

             information concerning the Company’s most up-to-date operational

             and financial results and prospects;

             (c)   In addition to availing themselves of virtually unlimited access

             to internal corporate documents, agents of the Underwriter Defendants

             met with the Company’s lawyers, management and top executives and

             engaged in “drafting sessions.” During these sessions, understandings

             were reached as to: (i) the strategy to best accomplish the IPO; (ii) the


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              terms of the IPO, including the price at which the Company’s

              securities would be sold; (iii) the language to be used in the

              Registration Statement; (iv) what disclosures about the Company’s

              operations and financial condition would be made in the Registration

              Statement; and (v) what responses would be made to the SEC in

              connection with its review of the Registration Statement.          The

              Underwriter Defendants caused the Registration Statement to be filed

              with the SEC and declared effective in connection with the offers and

              sales of securities registered thereby, including those to Plaintiff and

              the other members of the Class.

        42.   Defendant Cogency Global was 9F’s authorized U.S. representative for

  purposes of the IPO through its employee Defendant Ming, and Defendant Ming

  signed the Registration Statement for the IPO as an employee of Defendant Cogency

  Global. Defendant Cogency Global is additionally liable for the securities law

  violations alleged herein to have been committed by Defendant Ming as it controlled

  Defendant Ming at the time of the IPO.

        43.   The Company, the Offering Defendants, the Underwriter Defendants,

  and Cogency Global are referred to herein collectively as “Defendants.”




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                         SUBSTANTIVE ALLEGATIONS

        44.    9F is an online peer-to-peer lending intermediary platform in China. It

  provides various loan products on its platform through which small- and mid-sized

  banks and individuals lend money to individual borrowers at certain interest rates.

  9F charged loan facilitation service fees and post-origination services for managing

  these loan products. In 2018 and the first five months of 2019, loan facilitation

  service fees accounted for 89% and 84% of the Company’s respective net revenues.

        45.    Before April 2019, 9F charged loan facilitation service fees directly

  from borrowers. But as stated in 9F’s Registration Statement, in recent years, China

  imposed increasingly stringent restrictions on peer-to-peer lending intermediary

  service providers like 9F to prevent undue burdens on borrowers. In August 2015,

  the Supreme People’s Court of China, the highest court in China, issued the

  Provisions on Several Issues Concerning Laws Applicable to Trials of Private

  Lending Cases (“2015 Judicial Provisions”) providing that the aggregate rate of

  borrowing cost per year, including annual interest and all fees, shall not exceed 36%

  of the loan principal. Additionally, The Notice on Rectification of Cash Loan

  Businesses promulgated at the end of 2017 (the “Circular 141”) and The Notice on

  Strengthening Business Standards and Risk Prevention by Loan Facilitation

  Institutions promulgated in April 2019 (the “2019 Notice”) prohibit any institutions




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  providing loan facilitation services in China from collecting any interests or fees

  from the borrowers.

        46.    As a result, 9F had to cease collecting loan facilitation services directly

  from borrowers since April 2019, which adversely impacted its business and

  financial performance. To “ease the pressure brought about by the continuing

  challenging regulatory environment that negatively affect the growth of our

  business,” 9F designed a mechanism with PICC to circumvent the regulations bans

  and continue collecting loan facilitation service fees, secretly and indirectly, from

  borrowers via PICC. On the surface, as disclosed in the Registration Statement,

  PICC provided insurance protection to all the new loans with terms of no more than

  12 months that had been originated since May 2018 and charged borrowers for

  insurance premiums for providing such protection. 9F claimed that through such a

  “strategic” partnership with PICC, a borrower paid insurance premiums to PICC

  simultaneously when the loan principal was released to the borrower. PICC would

  pay compensation to a lender when the borrower was in delinquency. 9F claimed

  that PICC, as part of 9F’s “powerful network,” “strengthen[ed] the credibility of [its]

  platform” and helped 9F to “expand its institutional funding partner base and

  promote the rapid development of [its] direct lending program.”

        47.    Unknown to the market, however, 9F failed to disclose in the

  Registration Statement that the Company did not inform its borrowers that when


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  borrowers signed their loan agreements in 9F’s app, borrowers also simultaneously

  purchased insurance policies. Within seconds of the issuance of a loan principal to

  a borrower’s account, the insurance premiums were automatically deducted from the

  loan principal.3 In this way, 9F ensured that PICC was paid from every loan that 9F

  directed to PICC. Also unknown to the market, pursuant to a secret agreement

  between 9F and PICC, approximately 95% of the funds that PICC collected in the

  name of insurance premiums were, in fact, loan facilitation service fees that should

  have been remitted to 9F upon PICC’s receipt. The insurance premiums accounted

  for 50-100% of loan principal. Had 9F directly charged borrowers for the amount

  of such insurance premiums or loan facilitation service fees, it would have exceeded

  the 36% limitation for total interest and fees and violated Chinese law.

        48.    9F also failed to disclose in the Registration Statement that due to the

  illegal nature of the secret arrangement with PICC, at the time of the IPO, 9F was

  faced with a material risk that PICC would claim such secret arrangement was

  invalid and seize all the premiums that it received from borrowers.

        49.    On June 12, 2020, 9F disclosed in the June 12, 2020 6K that 9F and

  PICC filed lawsuits against each other regarding the RMB 2.2 billion (US$350




  3
   http://m.caijing.com.cn/api/show?contentid=4644856, last viewed on January 3,
  2022.
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  million) service fees that PICC refused to pay 9F. But the June 12, 2020 6K did not

  disclose that such service fees were, in fact, loan facilitation service fees that 9F

  funneled through PICC to bypass legal restrictions.

        50.    On June 24, 2020, the Company’s 2019 20F revealed for the first time

  the illegal nature of 9F’s partnership with PICC. 9F admitted that in 2019, under the

  Cooperation Agreement, 9F “predominantly partnered with PICC who provided the

  credit insurance service to institutional funding partners on the loan origination” and

  that “PICC collected all of the loan facilitation service fees” from borrowers and

  “remitted [9F’s] portion of the service fees to [9F].” 9F also revealed for the first

  time that since April 2019 when 9F stopped charging service fees directly to

  borrowers, the Company started to charge service fees “indirectly through …

  insurance company.”

        51.    On June 18, 2020, The China Securities Journal 4 published a news

  article entitled “The Drawer Agreement Pierced A “Big Hole”; The Lawsuits

  Between PICC And Jiufu Highlight The Predicament Of Credit Insurance,”

  revealing the details of the secret agreement between 9F and PICC on allocation of




  4
    The China Securities Journal is a national securities newspaper in China owned
  by Chinese central government and is one of the most important publications in the
  financial field.
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  insurance premiums that PICC charged borrowers.5 A senior expert in the Chinese

  peer-to-peer lending intermediary industry told The China Securities Journal that

  when the loan principal was issued to a 9F borrower’s account, insurance premiums

  ranging from a few hundred RMBs to a few thousand RMBs were “transferred

  within seconds” to PICC from the borrower’s account to “automatically be used for

  purchasing PICC’s performance insurance.”        PICC kept 5% of the insurance

  premiums, while the remaining 95% would “make a twirl” in PICC’s account and

  would be transferred to 9F. The expert said that borrowers probably did not know

  about the “drawer agreement”, i.e., the secret fee allocation arrangement, between

  PICC and 9F.

        52.   9F Former Employee 1 (“FE 1”) confirms that neither 9F nor PICC

  informed borrowers that PICC collected loan facilitation service fees from borrowers

  for 9F disguised as insurance premiums. FE1 worked as a Finance Manager at Jiufu

  Shuke Technology Group Co., Ltd. (“Jiufu Shuke”) – the primary operating

  subsidiary of 9F – from March 2019 to May 2020. His main job responsibilities

  included: (i) adjusting the differences between the Company’s Chinese and the U.S.

  financial statements in accordance with the US Generally Accepted Accounting




  5
    https://www.cs.com.cn/jg/05/202006/t20200618_6068596.html, last viewed on
  January 3, 2022.
                                          19
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  principles (“GAAP”); (ii) preparing monthly, quarterly, and annual financial

  statements for the purposes of filing with the SEC; and (iii) conducting financial

  analysis, accounting, tax planning, year-end auditing. According to FE 1, borrowers

  on 9F’s platform were not aware that 9F received service fees from the insurance

  company because it was not specified in the insurance contracts into which

  borrowers entered. FE 1 stated that “on the surface of [9F’s] financial statements, it

  is claimed that PICC were obligated to pay service fees to 9F pursuant to the

  agreement. But in fact, 9F gave such funds to PICC. This was just a formality.

  PICC should return such funds to 9F.” FE1’s statements are consistent with the fact

  that 9F transferred insurance premiums to PICC directly from borrowers’ accounts

  on 9F’s platform.

        53.    Additionally, Sina Black Cat – an online consumer complaint platform

  widely used by Chinese consumers to expose product and service problems –

  revealed that 9F borrowers filed 11,076 complaints against 9F regarding the

  prohibitively high insurance premiums that 9F forcibly and secretly charged. A

  search of “9F beheading interest” on Sina Black Cat further revealed 4,936

  complaints filed against 9F. “Beheading interest” is a term commonly used in China

  referring to prohibitively high interest rate or usury. All these complaints reveal that

  in 2019 9F secretly charged large amounts of insurance premiums from loan

  principals without informing borrowers in advance or even afterwards. Borrowers


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  were also not allowed to cancel the insurance policies 9F purchased for them or to

  request refunds. Borrowers complained that premiums and interest on the premiums

  usually accounted for 50-100% of the loan principal they received and were usury

  in blatant violation of Chinese law.

        54.    For example, Borrower 1 complained on Sina Black Cat that he

  borrowed a RMB22,300 loan on January 28, 2019 with an annual interest rate of

  8.7% on 9F’s platform.6 9F, without informing Borrower 1, simultaneously sold

  Borrower 1 two PICC insurance policies. Pursuant to such insurance policies,

  Borrower should pay a total of RMB 6961.51 for the insurance premiums and

  interest on the premiums by 12-month installments. Such insurance premiums,

  interest on the premiums, and the expressly required 8.7% interest on the loan, in

  total, accounted for 40% of the loan principal and exceeded the 36% limitation for

  total interest and fees set by Chinese regulations. Based on the secret arrangement

  that the 95% of the insurance premiums were actually loan facilitation service fees

  for 9F, 9F would have received RMB 6,613.43 in kickbacks from PICC.

        55.    Similarly, Borrower 2 complained that on August 5, 2019, he requested

  a RMB 5,000 loan on 9F’s platform. Without Borrower 2’s knowledge, 9F issued a




  6
   https://tousu.sina.com.cn/complaint/view/17349166037/, last viewed on January
  3, 2022.
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  RMB 7,890 loan (i.e. RMB 5,000 plus RMB 2,890) to his account and in four

  seconds of the issuance, transferred RMB 2,890 to PICC as insurance premiums.7

  Such so called insurance premiums accounted for 58% of the loan principal. When

  Borrower 1 told 9F that he refused to pay the insurance premiums, 9F insisted that

  he must pay the insurance premiums to clear his debt. Eventually Borrower 2’s

  credit record was negatively impacted due to his refusal to pay the premiums for

  insurance he never agreed to purchase. Based on the secret arrangement that 95%

  of the insurance premiums were actually loan facilitation service fees for 9F, 9F

  would have received RMB 2,745.5 in kickbacks from PICC.

        56.    Additionally, Borrower 3 complained that 9F issued a RMB36,050 loan

  to his account on October 20, 2019. 8 Without Borrower 3’s knowledge, 9F

  immediately transferred RMB 13,250 to PICC as an insurance premium. Borrower

  3 ended up actually receiving only RMB 22,800, and never received any insurance

  policy from PICC. Borrower 3 had paid RMB37576.02 by installment and nearly

  doubled the loan principal he actually received, but still kept receiving threatening

  telephone calls and text messages demanding more payments.            The insurance




  7
    https://tousu.sina.com.cn/complaint/view/17353758383/, last viewed on January
  3, 2022.
  8
    https://tousu.sina.com.cn/complaint/view/17355817330/, last viewed on January
  3, 2022.
                                          22
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  premium and all other interest and fees accounted for 65% of the loan principal.

  Based on the secret arrangement that 95% of the insurance premiums were actually

  loan facilitation service fees for 9F, 9F would have received RMB 12,587.5 in

  kickbacks from PICC.

        57.   A penalty notice issued by China Banking and Insurance Regulatory

  Commission regarding PICC’s violations in its partnership with 9F also confirms

  that 9F, not PICC, played the leading role in collecting insurance premium.9 The

  penalty notice revealed the PICC issued over 7 million insurance policies to 9F’s

  borrowers from March 2018 to December 2019. The penalty notice also revealed

  that 9F, not PICC, determined the exact amount of insurance fees and interest that

  PICC should collect from each borrower in contravention of existing insurance

  premium rates pre-approved by the Commission that PICC should have followed.

        58.   Since the exposure of PICC’s refusal to remit 9F’s RMB 2.2 billion

  service fees and the illegal nature of the collaboration between 9F and PICC, the

  price of 9F ADSs has plummeted in value. As of the filing of the initial complaint,

  9F ADSs were 85% below the IPO price.




  9
     https://news.cnstock.com/news,bwkx-202101-4640974.htm, last viewed on
  January 3, 2022; https://finance.caixin.com/2021-01-06/101647196.html, last
  viewed                on            January             3,            2022;
  https://m.thepaper.cn/yidian_promDetail.jsp?contid=10682964&from=yidian,
  last viewed on January 3, 2022.
                                         23
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          DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
              STATEMENTS DURING THE CLASS PERIOD

                          9F’s IPO Registration Statement

        59.    On or about July 25, 2019, 9F filed with the SEC a registration

  statement on Form F-1, which in combination with subsequent amendments on

  Forms F-1/A and filed pursuant to Rule 424(b)(4), are collectively referred to as the

  Registration Statement and issued in connection with the IPO. The F-1 was signed

  by the Offering Defendants.

        60.    On August 14, 2019, 9F filed its final amendment to the Registration

  Statement with the SEC on Form F-1/A. The SEC declared the Registration

  Statement effective after the close of trading that same day. This F-1/A was signed

  by the Offering Defendants.

        61.    On August 15, 2019, the Company filed its prospectus on Form 424B4

  with the SEC, which incorporated and formed part of the Registration Statement.

        62.    In the IPO, 9F sold 8.9 million ADSs (including the full exercise of the

  Underwriter Defendants’ over-allotment option), generating approximately $84.55

  million in proceeds from the offering (before costs and expenses).

        63.    The Registration Statement for the IPO was negligently prepared and,

  as a result, contained materially false and misleading statements of fact and failed to

  disclose facts required to be disclosed therein regarding 9F’s business, operations,

  and prospects.

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        64.   Specifically, the Registration Statement stated, in relevant part, that:

        “We partner with financial institutions such as China Taiping and PICC
        to provide third-party insurance protection to investors that invest in
        loans we facilitate, which strengthens the credibility of our platform
        and further enlarges our investor base. PICC, when it is engaged under
        our direct lending program, also provides credit insurance to
        institutional funding partners, helping us to expand our institutional
        funding partner base and promote the rapid development of our direct
        lending program, which may ease the pressure brought about by the
        continuing challenging regulatory environment that negatively affect
        the growth of our business.”

                                          ***

        “[A]s with other types of insurance, PICC may refuse to pay
        compensation if PICC determines the relevant institutional funding
        partners are not entitled to compensation…. If PICC decides to
        terminate the insurance arrangements under our direct lending program,
        not to renew such arrangements after the expiry of our cooperation
        agreements or to significantly increase the insurance premium, our
        service may become less attractive to institutional funding partners,
        which may negatively affect the development of our direct lending
        program and our business and results of operations could be materially
        and adversely affected.”

                                          ***

        “Loan facilitation services fees are the portion of service fees we charge
        to borrowers with whom we have stopped charging service fees since
        April 2019 or financial institutional partners in relation to the services
        we provide such as traffic referral services and credit assessment.”

        65.   The above statements were materially false and misleading because

  they implied that the full amounts that PICC charged borrowers for were insurance

  premiums to be used for protecting loans and that 9F only charged PICC for “traffic

  referral service fees” for referring business to PICC.         In contrast to these

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  representations, 9F used PICC as a conduit to circumvent Chinese laws to continue

  collecting exorbitantly high amounts of loan facilitation service fees indirectly and

  disguised as insurance premiums from borrowers. The Registration Statement also

  failed to disclose that the so called “strategic” partnership with PICC was illegal and

  subjected 9F to an imminent and material risk that PICC would claim the

  arrangement with 9F was illegal and hence refuse to remit the loan facilitation

  service fees that 9F transferred from borrowers’ accounts to PICC’s account. The

  Registration Statement failed to disclose that if such risk materialized, it would

  significantly impact 9F’s financial performance.

        66.    The Registration Statement also stated, in relevant part, that:

        “As of the date of this prospectus, we do not have any outstanding loan
        balance that we have facilitated since the promulgation of Circular 141
        with an APR of higher than 36%, even inclusive of any additional fees
        incurred by borrowers in relation to third-party insurance and guarantee
        protection, such as insurance premiums to the insurer, money
        contributions to the depository account and guarantee fee to the
        guarantee company.”
                                          ***

        “Loan facilitation services fees are the portion of service fees we charge
        to borrowers with whom we have stopped charging service fees since
        April 2019 or financial institutional partners in relation to the services
        we provide such as traffic referral services and credit assessment.”

        67.    The above statements were materially false and misleading because 9F

  did not stop charging loan facilitation service fees from borrowers since April 2019.

  In fact, 9F continued collecting exorbitantly high amounts of loan facilitation service


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  fees, indirectly and disguised as insurance premiums, from borrowers via PICC.

  9F’s practices violated the 2015 Judicial Provisions, Circular 141 and 2019 Notice.

  9F transferred the “insurance premiums” from borrowers’ accounts to PICC’s

  accounts the moment borrowers received their loan principal without borrowers’

  knowledge. Borrowers were not allowed to cancel their insurance policies and were

  threatened by debt collectors if they refused to pay premiums.

        68.    Failure to disclose the true nature of the arrangement with PICC in the

  Registration Statement also violated GAAP. GAAP constitutes those standards

  recognized by the accounting profession as the conventions, rules, and procedures

  necessary to define accepted accounting practices at a particular time. GAAP are

  the common set of accounting principles, standards, and procedures that companies

  in the United States use to compile their financial statements.

        69.    The SEC has the statutory authority to promulgate GAAP for public

  companies and has delegated that authority to the U.S. Financial Accounting

  Standards Board (“FASB”). See Release Nos. 33-8221; 34-47743; IC-26028; FR-

  70. The SEC Rules and interpretive releases and the FASB Accounting Standards

  Codification (“ASC”) represent sources of authoritative GAAP for SEC registrants.

  ASC 105-10-05-1. SEC and NASDAQ rules and regulations require that publicly

  traded companies such as 9F include financial statements that comply with GAAP

  in their annual and quarterly reports, as well as registration statements filed with the


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  SEC.    See §13 of the Exchange Act; Regulation S-X.          SEC Rule 4-01(a) of

  Regulation S-X states that “[f]inancial statements filed with the Commission which

  are not prepared in accordance with generally accepted accounting principles will be

  presumed to be misleading or inaccurate.” 17 C.F.R. § 210.4-01(a)(1). Management

  is responsible for preparing financial statements that conform to GAAP, as provided

  in the Public Company Accounting Oversight Board standards that govern financial

  statement auditors (“PCAOB Standards”).

         70.   ASC 606 requires 9F “to disclose sufficient information to enable users

  of financial statements to understand the nature, amount, timing, and uncertainty of

  revenue and cash flows arising from contracts with customers. To achieve that

  objective, an entity shall disclose qualitative and quantitative information about all

  of the following: a. Its contracts with customers….” ASC 606-10-50-1. 9F “shall

  aggregate or disaggregate disclosures so that useful information is not obscured by

  either the inclusion of a large amount of insignificant detail or the aggregation of

  items that have substantially different characteristics.”        ASC 606-10-50-2.

  Additionally, 9F “shall disclose all of the … amounts of …. revenue recognized from

  contracts with customers, which the entity shall disclose separately from its other

  sources of revenue.” ASC 606-10-50-4.         Furthermore, 9F “shall disaggregate

  revenue recognized from contracts with customers into categories that depict how

  the nature, amount, timing, and uncertainty of revenue and cash flows are affected


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  by economic factors.” ASC 606-10-50-5. 9F shall also disclose “the opening and

  closing balances of receivables from contracts with customers, if not otherwise

  separately presented or disclosed.” ASC 606-10-50-8. ASC 450-20 requires a loss

  contingency to be accrued by a charge to income if it is probable and estimable. ASC

  450-20-25-2. A disclosure is required if: (1) there has been a manifestation of an

  unaccreted claim; or (2) it is probable that a claim will be asserted and there is a

  reasonable possibility that the outcome will be unfavorable. ASC 450-20-50-3.

        71.    Accordingly, 9F should have separately disclosed in the Registration

  Statement, but failed to disclose, revenue recognized from its lending contracts with

  its borrowers that 9F indirectly collected via PICC.             ASC 606-10-50-4.

  Additionally, 9F should have separately disclosed, but failed to disclose, the opening

  and closing balances of receivables from PICC because such receivables are loan

  facilitation service fees that 9F collected from its borrower via PICC. ASC 606-10-

  50-8. Such disclosures do not require subjective judgment because the timing and

  the amount of revenues to recognize are indisputable.

        72.    Furthermore, contingent liabilities apply to any financial reporting

  period when 9F was exposed to the risk that borrowers would assert claims that 9F

  improperly charged loan fees, either in violation of the law, or by deceiving

  borrowers into thinking they were paying insurance premiums which, unknown to

  them, included service fees. PICC started to charge 9F’s borrowers for insurance


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  premiums since May 2018, starting which time 9F was subject to the risk that

  borrowers would assert claims against 9F for its improper charges. Therefore, the

  Registration Statement should have disclosed 9F’s contingent liability. ASC 450-

  20.

        73.    In addition, the undisclosed adverse facts and circumstances detailed

  above presented known trends, uncertainties, and risks that required disclosure in

  the Registration Statement. SEC Regulation S-K (27 CFR 229.10) provides that

  registration statements such as the one filed by 9F on Form F-1 comply with the

  other requirements of Regulation S-K “to the extent provided in the forms to be used

  for registration under the [Securities] Act.” 17 C.F.R. 229.10. Form F-1 requires

  registrants to furnish the information required by Part I of Form 20-F. Item 5(d) of

  Form 20-F “call[s] for the same disclosure as Item 303 of Regulation S-K”. In Re

  Comm’n Guidance Regarding MD&A of Fin. Condition & Results of Operation,

  Release No. 8350 (Dec. 19, 2003) (the “2003 Guidance”) available at 2003 WL

  22996757, *1 n.1. Item 303 of SEC Regulation S-K required the Company to

  disclose “any known trends or uncertainties that have had or that [9F] reasonably

  expects will have a material favorable or unfavorable impact on net sales or revenues

  or income from continuing operations.” Moreover, Item 105 of Regulation S-K

  required disclosure in the Registration Statement of “the most significant factors that

  ma[d]e an investment in [the IPO] speculative or risky,” and an explanation of “how


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  the risk affect[ed] [9F] or the securities being offered.” As detailed herein, the

  Registration Statement failed to disclose material facts necessary to apprise ADS

  purchasers of the true risks inherent in investing in the Company and of known

  adverse trends and uncertainties.

                   PLAINTIFF’S CLASS ACTION ALLEGATIONS

        74.    Plaintiff brings this action as a class action on behalf of all those who

  purchased the Company’s securities pursuant and/or traceable to the Registration

  Statement and/or during the Class Period (“Class”). Excluded from the Class are

  Defendants and their families, the officers and directors and affiliates of Defendants,

  at all relevant times, members of their immediate families and their legal

  representatives, heirs, successors or assigns and any entity in which Defendants have

  or had a controlling interest.

        75.    The members of the Class are so numerous that joinder of all members

  is impracticable. While the exact number of Class members is unknown to Plaintiff

  at this time and can only be ascertained through appropriate discovery, Plaintiff

  believes that there are at least thousands of members in the proposed Class. Record

  owners and other members of the Class may be identified from records maintained

  by the Company or its transfer agent and may be notified of the pendency of this

  action by mail, using the form of notice similar to that customarily used in securities

  class actions.


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         76.    Plaintiff’s claims are typical of the claims of the members of the Class,

  as all members of the Class are similarly affected by Defendants’ wrongful conduct

  in violation of federal law that is complained of herein.

         77.    Plaintiff will fairly and adequately protect the interests of the members

  of the Class and has retained counsel competent and experienced in class and

  securities litigation.

         78.    Common questions of law and fact exist as to all members of the Class

  and predominate over any questions solely affecting individual members of the

  Class. Among the questions of law and fact common to the Class are:

                (a)    whether Defendants violated the federal securities laws;

                (b)    whether the Registration Statement contained false or

                misleading statements of material fact and omitted material

                information required to be stated therein; and to what extent the

                members of the Class have sustained damages and the proper measure

                of damages;

                (c)    whether Defendants’ statements to the investing public during

                the Class Period misrepresented material facts about the financial

                condition, business, operations, and management of the Company;

                (d)    whether Defendants’ statements to the investing public during

                the Class Period omitted material facts necessary to make the


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               statements made, in light of the circumstances under which they were

               made, not misleading;

               (e)      whether Defendants caused the Company to issue false and

               misleading SEC filings and public statements during the Class Period;

               (g)      whether the prices of the Company’s securities during the Class

               Period were artificially inflated because of the Defendants’ conduct

               complained of herein; and

               (f)      to what extent the members of the Class have sustained damages

               and the proper measure of damages.

        79.    A class action is superior to all other available methods for the fair and

  efficient adjudication of this controversy since joinder of all members is

  impracticable. Furthermore, as the damages suffered by individual Class members

  may be relatively small, the expense and burden of individual litigation make it

  impossible for members of the Class to individually redress the wrongs done to them.

  There will be no difficulty in the management of this action as a class action.

                               SECURITIES ACT CLAIMS

                                        COUNT I
                     For Violations of Section 11 of the Securities Act
                                 Against All Defendants

        80.    Plaintiff repeats and realleges each and every allegation contained

  above as though set forth in full herein.


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        81.    This Count is brought pursuant to §11 of the Securities Act, 15 U.S.C.

  §77k, on behalf of the Class, against all Defendants. For purposes of this Count,

  Plaintiff expressly disclaims any allegations based upon fraud.

        82.    The Registration Statement contained untrue statements of material

  facts, omitted to state other facts necessary to make the statements made not

  misleading, and omitted to state material facts required to be stated therein.

        83.    Defendants are strictly liable to Plaintiff and the Class for the

  misstatements and omissions.

        84.    None of the Defendants named herein made a reasonable investigation

  or possessed reasonable grounds for the belief that the statements contained in the

  Registration Statement were true and without omissions of any material facts and

  were not misleading.

        85.    By reason of the conduct herein alleged, each Defendant violated or

  controlled a person who violated §11 of the Securities Act.

        86.    Plaintiff acquired the Company’s securities pursuant to the Registration

  Statement.

        87.    At the time of their purchases of 9F securities, Plaintiff and other

  members of the Class were without knowledge of the facts concerning the wrongful

  conduct alleged herein and could not have reasonably discovered those facts prior to

  the disclosures herein.


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        88.    This claim is brought within one year after discovery of the untrue

  statements and/or omissions in the Offering that should have been made and/or

  corrected through the exercise of reasonable diligence, and within three years of the

  effective date of the Offering. It is therefore timely.

                                     COUNT II
                 Violations of Section 12(a)(2) of the Securities Act
                               Against All Defendants

        89.    Plaintiff repeats and realleges each and every allegation contained

  above as though set forth in full herein.

        90.    By means of the defective Prospectus, Defendants promoted, solicited,

  and sold 9F securities to Plaintiff and other members of the Class.

        91.    The Prospectus for the IPO contained untrue statements of material fact,

  and concealed and failed to disclose material facts, as detailed above. Defendants

  owed Plaintiff and the other members of the Class who purchased the Company’s

  securities pursuant to the Prospectus the duty to make a reasonable and diligent

  investigation of the statements contained in the Prospectus to ensure that such

  statements were true and that there was no omission to state a material fact required

  to be stated in order to make the statements contained therein not misleading.

  Defendants, in the exercise of reasonable care, should have known of the

  misstatements and omissions contained in the Prospectus as set forth above.




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        92.    Plaintiff did not know, nor in the exercise of reasonable diligence could

  Plaintiff have known, of the untruths and omissions contained in the Prospectus at

  the time Plaintiff acquired 9F securities.

        93.    By reason of the conduct alleged herein, Defendants violated §12(a)(2)

  of the Securities Act, 15 U.S.C. §77l(a)(2). As a direct and proximate result of such

  violations, Plaintiff and the other members of the Class who purchased 9F securities

  pursuant to the Prospectus sustained substantial damages in connection with their

  purchases of the shares. Accordingly, Plaintiff and the other members of the Class

  who hold the securities issued pursuant to the Prospectus have the right to rescind

  and recover the consideration paid for their shares, and hereby tender their securities

  to Defendants sued herein. Class members who have sold their securities seek

  damages to the extent permitted by law.

        94.    This claim is brought within one year after discovery of the untrue

  statements and/or omissions in the Offering that should have been made and/or

  corrected through the exercise of reasonable diligence, and within three years of the

  effective date of the Offering. It is therefore timely.

                                     COUNT III
                    Violations of Section 15 of the Securities Act
                          Against the Offering Defendants

        95.    Plaintiff repeats and realleges each and every allegation contained

  above as though set forth in full herein.

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        96.    This cause of action is brought pursuant to §15 of the Securities Act, 15

  U.S.C. §77o against all Defendants except the Underwriter Defendants.

        97.    The Offering Defendants were controlling persons of 9F by virtue of

  their positions as directors or senior officers of the Company. The Offering

  Defendants each had a series of direct and indirect business and personal

  relationships with other directors and officers and major shareholders of the

  Company.     The Company controlled the Offering Defendants and all of 9F

  employees.

        98.    The Company and the Offering Defendants were culpable participants

  in the violations of §§11 and 12(a)(2) of the Securities Act as alleged above, based

  on their having signed or authorized the signing of the Registration Statement and

  having otherwise participated in the process which allowed the IPO to be

  successfully completed.

        99.    This claim is brought within one year after discovery of the untrue

  statements and/or omissions in the Offering that should have been made and/or

  corrected through the exercise of reasonable diligence, and within three years of the

  effective date of the Offering. It is therefore timely.

               Post-IPO Materially False and Misleading Statements

        100. On June 12, 2020, 9F filed the June 12, 2020 6K disclosing its ongoing

  dispute with PICC. According to 9F, the dispute involved RMB2.2 billion ($324.5


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  million) in unpaid service fees and RMB1.4 billion ($206.5 million) in service fees

  that had previously been recorded as accounts receivable and which were then

  recognized as fully impaired, resulting in multiple legal actions in China. The June

  12, 2020 6K is materially false and misleading because it failed to disclose that the

  dispute represented a materialized risk that PICC would claim the arrangement with

  9F was illegal and hence refuse to remit the loan facilitation service fees that 9F

  transferred from borrowers’ accounts to PICC’s account.

        101. On June 15, 2020, 9F filed a Form NT 20-F with the SEC stating that

  the Company could not timely file its annual report because of its dispute with PICC.

  The Form NT 20-F is materially false and misleading because it failed to disclose

  that the dispute constituted a materialized risk that PICC would claim the

  arrangement with 9F was illegal and hence refuse to remit the loan facilitation

  service fees that 9F transferred from borrowers’ accounts to PICC’s account.

        102. On June 17, 2020, 9F issued a press release on a Form 6-K (“June 17,

  2020 6K”) which provided the Company’s fourth quarter and full-year 2019

  financial results and the financial consequences of the Company’s dispute with

  PICC. The June 17, 2020 6K is materially false and misleading because it failed to

  disclose that the dispute represented a materialized risk that PICC would claim the

  arrangement with 9F was illegal and hence refuse to remit the loan facilitation

  service fees that 9F transferred from borrowers’ accounts to PICC’s account.


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       THE TRUTH MATERIALIZES CAUSING PLAINTIFF’S LOSSES

        103. Soon after the IPO, several directors resigned from 9F’s Board. On

  October 10, 2019, Defendant Cheung resigned from 9F’s Board purportedly for

  “personal reasons.” Defendant Xu resigned on January 20, 2020, also purportedly

  for personal reasons. Defendants Zhang and Huang resigned on March 16 and

  March 27, 2020, respectfully, also purportedly for personal reasons. Defendant Cui

  also subsequently resigned his directorship despite serving in the position for only

  approximately one year.

        104. On June 17, 2020, 9F issued the June 17, 2020 6K which provided the

  Company’s fourth quarter and full-year 2019 financial results, which described the

  devastating financial consequences of the Company’s dispute with PICC. The June

  17, 2020 6K disclosed for the first time that since November 2019, PICC had stopped

  providing insurance protections to 9F’s new loans with terms of no more than 12

  months. The June 17, 2020 6K further disclosed for the first time that 9F had

  suspended its cooperation with PICC since December 2019. 9F’s total net revenues

  decreased by 54.4% and 20.4% in the fourth quarter of 2019 and in full-year 2019

  “primarily due to the decrease in loan facilitation services revenue.”        Loan

  facilitation services revenue decreased by 90.5% and 29.9% in the fourth quarter of

  2019 and in full-year 2019 “primarily because the loan facilitation services revenue

  under our direct lending program in the fourth quarter of 2019 was not recognized


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  due to our dispute with PICC.”

        105. On this news, shares of 9F fell $0.165 per ADS, or 2.7%, from its close

  on June 16, 2020 to close at $6.00 per ADS on June 17, 2020, damaging investors.

        106. As the result of failure to manage the material risk associated with the

  partnership with PICC causing severe damages to 9F’s businesses, on June 22, 2020,

  after the market closed, 9F issued a press release on Form 6-K (“June 22, 2020 6K”),

  announcing that Zengxiao Jin was removed from the chief risk officer position. Lei

  Liu, president of 9F directly assumed the role of chief risk officer.

        107. On this news, shares of 9F fell $1.13 per ADS, or 18%, from its close

  on June 22, 2020, to close at $5.00 per ADS on June 23, 2020, further damaging

  investors.

        108. On June 24, 2020, the Company filed a 2019 20-F with the SEC,

  revealing for the first time the illegal nature of 9F’s partnership with PICC. 9F

  admitted that in 2019, under the Cooperation Agreement, 9F “predominantly

  partnered with PICC who provided the credit insurance service to institutional

  funding partners on the loan origination” and that “PICC collected all of the loan

  facilitation service fees” from borrowers and “remitted [9F’s] portion of the service

  fees to [9F].” 9F also revealed for the first time that since April 2019 when 9F

  stopped charging service fees directly to the borrowers, the Company started to

  charge service fees “indirectly through … insurance company.”


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         109. On this news, 9F’s ADS price fell by $0.38 per ADS or 7.6% on June

  24, 2019 and another $1.12 per ADS or 24% over the next three days.

         110. On September 29, 2020, after the market closed, 9F reported its first

  half 2020 financial results.     9F’s financial performance continued drastically

  declining because 9F was no longer able to collect large amount of loan facilitation

  fees from borrowers via a conduit like PICC. The Company’s total net revenues had

  plummeted 61% during the first half of 2020 as compared to the latter half of 2019.

         111. On this news, ADSs of 9F fell $0.20 per ADS, or 18%, to close at $0.91

  per ADS on September 30, 2020, further damaging investors.

         112. Subsequent to the IPO, the price of 9F ADSs has plummeted in value.

  As of the filing of the initial complaint, 9F ADSs were trading at about $1.40 per

  ADS.

         113. Since the IPO, and as a result of the disclosure of material adverse facts

  omitted from the Company’s Registration Statement, 9F’s stock price has

  significantly fallen below its IPO price, damaging Plaintiff and Class members.

         114. As a result of Defendants’ wrongful acts and omissions, and the

  precipitous decline in the market value of the Company’s securities, Plaintiff and

  other Class members have suffered significant losses and damages.




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                             EXCHANGE ACT CLAIMS

                                    COUNT IV
       Violation of Section 10(b) of The Exchange Act and SEC Rule 10b-5
              Against Defendants 9F and the Individual Defendants

        115. Plaintiff repeats and realleges each and every allegation contained

  above as though set forth in full herein. This Count is asserted against 9F and

  Individual Defendants and is based upon Section 10(b) of the Exchange Act, 15

  U.S.C. § 78j(b), and Rule l0b-5 promulgated thereunder by the SEC.

        116. 9F is liable for the acts of the Individual Defendants and its employees

  under the doctrine of respondeat superior and common law principles of agency as

  all of the wrongful acts complained of herein were carried out within the scope of

  their employment with authorization.

        117. The scienter of the Individual Defendants and other employees and

  agents of the Company is similarly imputed to 9F under respondeat superior and

  agency principles.

                       Applicability of Presumption of Reliance:
                                      Affiliated Ute

        118. The statements made by 9F and the Individual Defendants during the

  Class Period were misleading for omitting to disclose information as alleged above

  which rendered statements in the Registration Statement and subsequent SEC filings

  misleading.



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        119. Neither plaintiff nor the Class need prove reliance – either individually

  or as a class – because under the circumstances of this case, which primarily are

  based on omissions of material fact as described above, positive proof of reliance is

  not a prerequisite to recovery, pursuant to the ruling of the United States Supreme

  Court in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128, 92 S. Ct.

  1456, 31 L. Ed. 2d 741 (1972). All that is necessary is that the facts that 9F withheld

  be material in the sense that a reasonable investor might have considered the omitted

  information important in deciding whether to buy or sell the subject security.

                       Application of Presumption of Reliance:
                                 Fraud on the Market

        120. Plaintiff will rely, in part, upon the presumption of reliance established

  by the fraud-on-the-market doctrine in that, among other things: (a) 9F and the

  Individual Defendants made public statements that were rendered misleading

  because they failed to disclose material facts necessary to prevent such statement

  from being misleading during the Class Period; (b) the omissions were material; (c)

  9F ADSs were traded in efficient markets during the Class Period.

        121. 9F’s ADSs were traded in efficient markets during the Class Period for

  the following reasons: (i) the ADSs were traded on NASDAQ; (ii) on average shares

  representing more than 2.0% of the securities’ float were traded weekly during the

  Class Period; (iii) during the Class Period, 9F was followed by numerous securities

  analysts employed by major brokerage firms who wrote reports that were widely

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  distributed and publicly available; (iv) 9F met the criteria for eligibility to file a

  Registration Statement during the Class Period; (v) 9F could timely file all required

  annual, quarterly and material event reports with the SEC during the Class Period;

  (vi) 9F regularly communicated with public investors via established market

  communication mechanisms, including through regular dissemination of press

  releases on the national circuits of major newswire services and through other wide-

  ranging public disclosures, such as communications with the financial press and

  other similar reporting services; (vii) the price of 9F ADSs responded quickly to

  incorporate and reflect new public information concerning 9F during the Class

  Period; (viii) numerous market makers made a market in 9F ADSs during the Class

  Period.

        122. During the Class Period, 9F and the Individual Defendants engaged in

  a plan, scheme, conspiracy and course of conduct, pursuant to which they knowingly

  or recklessly engaged in acts, transactions, practices and courses of business which

  operated as a fraud and deceit upon Plaintiff and the other members of the Class. 9F

  and the Individual Defendants also made various untrue statements of material facts

  and omitted to state material facts necessary in order to make the statements made,

  in light of the circumstances under which they were made, not misleading, and

  employed devices, schemes and artifices to defraud in connection with the purchase

  and sale of securities. Such scheme was intended to, and, throughout the Class


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  Period, did: (i) deceive the investing public, including Plaintiffs and other Class

  members, as alleged herein; (ii) artificially inflate and maintain the market price of

  9F ADSs; and (iii) cause Plaintiff and other members of the Class to purchase 9F

  ADSs at artificially inflated prices. In furtherance of this unlawful scheme, plan and

  course of conduct, 9F and Individual Defendants, and each of them, took the actions

  set forth herein.

        123.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

  9F and each of the Individual Defendants participated directly or indirectly in the

  preparation and/or issuance of the quarterly and annual reports, SEC filings, press

  releases and other statements and documents described above, including statements

  made to securities analysts and the media that were designed to influence the market

  for 9F ADSs. Such reports, filings, releases and statements were materially false

  and misleading in that they failed to disclose material adverse information and

  misrepresented the truth about 9F’s finances and business prospects.

        124.    By virtue of their positions at 9F, 9F and Individual Defendants had

  actual knowledge of the materially false and misleading statements and material

  omissions alleged herein and intended thereby to deceive Plaintiff and the other

  members of the Class, or, in the alternative, 9F and Individual Defendants acted with

  reckless disregard for the truth in that they failed or refused to ascertain and disclose

  such facts as would reveal the materially false and misleading nature of the


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  statements made, although such facts were readily available to 9F and Individual

  Defendants.    Said acts and omissions of 9F and Individual Defendants were

  committed willfully or with reckless disregard for the truth. In addition, each

  defendant knew or recklessly disregarded that material facts were being

  misrepresented or omitted as described above.

         125.   Information showing that 9F and Individual Defendants acted

  knowingly or with reckless disregard or the truth is peculiarly within the knowledge

  and control of 9F and Individual Defendants. As the senior managers and/or

  directors of 9F, the Individual Defendants had knowledge of the details of 9F internal

  affairs.

         126.   The Individual Defendants are liable both directly and indirectly for

  the wrongs complained of herein.        Because of their positions of control and

  authority, the Individual Defendants were able to and did, directly or indirectly,

  control the content of the statements of 9F. As officers and/or directors of a publicly

  held company, the Individual Defendants had a duty to disseminate timely, accurate,

  and truthful information with respect to 9F’s businesses, operations, future financial

  condition and future prospects.        As a result of the dissemination of the

  aforementioned false and misleading reports, releases and public statements, the

  market prices of 9F securities were artificially inflated throughout the Class Period.

  In ignorance of the adverse facts concerning 9F’s business and financial condition


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  which were concealed by 9F and Individual Defendants, Plaintiff and the other

  members of the Class purchased 9F ADSs at artificially inflated prices and relied

  upon the price of the securities, the integrity of the market for the securities and/or

  upon statements disseminated by 9F and Individual Defendants and were damaged

  thereby.

        127. During the Class Period, 9F ADSs were traded on an active and

  efficient market. Plaintiff and the other members of the Class, relying on the

  materially false and misleading statements described herein, which the defendants

  made, issued or caused to be disseminated, or relying upon the integrity of the

  market, purchased 9F securities at prices artificially inflated by the wrongful conduct

  of 9F and Individual Defendants. Had Plaintiff and the other members of the Class

  known the truth, they would not have purchased said securities, or would not have

  purchased them at the inflated prices that were paid. At the time of the purchases by

  Plaintiff and the Class, the true value of 9F ADSs was substantially lower than the

  prices paid by Plaintiff and the other members of the Class. The market price of 9F

  securities declined sharply upon public disclosure of the facts alleged herein to the

  injury of Plaintiff and Class members.

        128. By reason of the conduct alleged herein, 9F and Individual Defendants

  knowingly or recklessly, directly or indirectly, have violated Section 10(b) of the

  Exchange Act and SEC Rule 10b-5 promulgated thereunder.


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        129.    As a direct and proximate result of the wrongful conduct of 9F and

  Individual Defendants, Plaintiff and the other members of the Class suffered

  damages in connection with their respective purchases and sales of the Company’s

  securities during the Class Period upon the disclosure that the Company had been

  disseminating misrepresented financial statements to the investing public.

                                      COUNT V
                   Violation of Section 20(a) of The Exchange Act
                         Against the Individual Defendants

        130. Plaintiff repeats and realleges each and every allegation contained

  above as though set forth in full herein.

        131. During the Class Period, the Individual Defendants participated in the

  operation and management of the Company and conducted and participated, directly

  and indirectly, in the conduct of the Company’s business affairs. Because of their

  senior positions, the Individual Defendants knew the adverse non-public information

  regarding the Company’s business practices.

        132. As officers and directors of a publicly owned company, the Individual

  Defendants had a duty to disseminate accurate and truthful information with respect

  to the Company’s financial condition and operations, and to correct promptly any

  public statements issued by the Company which had become materially false or

  misleading.




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        133. Because of their positions of control and authority as senior officers,

  the Individual Defendants were able to, and did, control the contents of the various

  reports, press releases and public filings which the Company disseminated in the

  marketplace during the Class Period. Throughout the Class Period, the Individual

  Defendants exercised their power and authority to cause the Company to engage in

  the wrongful acts complained of herein. The Individual Defendants, therefore, were

  “controlling persons” of the Company within the meaning of Section 20(a) of the

  Exchange Act. In this capacity, they participated in the unlawful conduct alleged

  which artificially inflated the market price of the Company’s securities.

        134. By reason of their senior management positions and/or being directors

  of the Company, the Individual Defendants had the power to direct the actions of,

  and exercised the same to cause, the Company to engage in the unlawful acts and

  conduct complained of herein. The Individual Defendants exercised control over

  the general operations of the Company and possessed the power to control the

  specific activities which comprise the primary violations about which Plaintiff and

  the other members of the Class complain. The Individual Defendants also had

  ultimate authority over the Company’s statements, including controlling the content

  of such statements and whether and how to communicate such statements to the

  public.   Additionally, the Individual Defendants had direct and supervisory

  involvement in the day-to-day operations of the Company and had the power to


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  control or influence the particular transactions giving rise to the securities violations.

        135. By reason of the above conduct, the Individual Defendants are liable

  pursuant to Section 20(a) of the Exchange Act for the violations committed by the

  Company.

                                PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of himself and the Class, prays for

  judgment and relief as follows:

               (a)    declaring this action to be a proper class action, designating

               Plaintiff as Lead Plaintiff, and certifying Plaintiff as a class

               representative under Rule 23 of the Federal Rules of Civil Procedure

               and designating Plaintiff’s counsel as Lead Counsel;

               (b)    awarding damages in favor of Plaintiff and the other Class

               members against all defendants, jointly and severally, together with

               interest thereon;

               (c)    awarding Plaintiff and the Class reasonable costs and expenses

               incurred in this action, including counsel fees and expert fees; and

               (d)    awarding Plaintiff and other members of the Class such other

               and further relief as the Court may deem just and proper.

                              JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.


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  DATED: January 3, 2022            Respectfully submitted,

                                    CARELLA, BYRNE, CECCHI,
                                    OLSTEIN, BRODY & AGNELLO, P.C.

                                    By: /s/ James E. Cecchi
                                    James E. Cecchi
                                    Lindsey H. Taylor
                                    Donald A. Ecklund
                                    5 Becker Farm Road
                                    Roseland, New Jersey 07068
                                    Telephone: (973) 994 -1700

                                    Liaison Counsel for Lead Plaintiff and the
                                    Class

                                    GLANCY PRONGAY & MURRAY LLP
                                    Robert V. Prongay
                                    Ex Kano S. Sams II
                                    Charles H. Linehan
                                    Pavithra Rajesh
                                    1925 Century Park East, Suite 2100
                                    Los Angeles, California 90067
                                    Telephone: (310) 201-9150

                                    Counsel for Lead Plaintiff and the Class

                                    LAW OFFICES OF HOWARD G. SMITH
                                    Howard G. Smith
                                    3070 Bristol Pike, Suite 112
                                    Bensalem, PA 19020
                                    Telephone: (215) 638-4847
                                    Facsimile: (215) 638-4867

                                    Additional Counsel




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